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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 18-cv-61469-BLOOM/Valle


 TRITON II, LLC,

        Plaintiff,
 v.

 JOHN RANDAZZO and CAPRICE
 TURNER,

       Defendants.
 ________________________________________/

                       UNOPPOSED JOINT MOTION TO POSTPONE THE
                        SUBMISSION OF JOINT SCHEDULING REPORT

        Pursuant to Federal Rules of Civil Procedure 16(b)(2) and 26(f)(1) and the Court’s inherent

 authority to control its docket, Defendants John Randazzo and Caprice Turner (collectively,

 “Defendants”) respectfully request this Honorable Court to postpone submission of the joint

 scheduling report until Defendants’ forthcoming motion to dismiss has been resolved.

                                                  DISCUSSION

        This case involves allegations of federal securities fraud and, as the Court is aware,

 implicates the Private Securities Litigation Reform Act (“PSLRA”). 15 U.S.C. § 78u-4. The

 PSLRA reflects Congress’s determination that federal securities fraud actions should be initiated

 differently than other actions—specifically, that they (1) “should stand or fall based on the actual

 knowledge of the plaintiffs rather than information produced by the defendants after the action has

 been filed,” and (2) should be managed to “minimize unnecessary imposition of costs on

 defendants.” Medhekar v. U.S. Dist. Court for the N. Dist. of California, 99 F.3d 325, 328 (9th Cir.




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 1996 (citations omitted). 1 To that end, the PSLRA imposes heightened pleading standards (beyond

 those set forth in Rule 9), and, importantly, it calls for an automatic stay of “all discovery and other

 proceedings . . . during the pendency of any motion to dismiss.” 15 U.S.C. § 78u-4(b)(1)-(3).

         The Court previously invoked the PSLRA’s automatic stay in this action [DE 34], which

 applies not only to depositions, interrogatories, and other optional forms of discovery, but also to

 Rule 26(a)(1)’s mandatory initial disclosures. Medhekar, 99 F.3d at 328-29. Accordingly, courts

 routinely find it impractical to require a Rule 26(f) case-management conference if a defendant

 has filed a motion to dismiss see, e.g., Pedroli ex rel. Microtune, Inc. v. Bartek, 251 F.R.D. 229,

 230–31 (E.D. Tex. 2007), or if a defendant has indicated that a motion to dismiss will be

 “forthcoming,” see 380544 Canada, Inc. v. Aspen Tech., Inc., No. 07 Civ. 1204 (JFK), 2011 WL

 4089876, at *3 (S.D.N.Y. Sept. 14, 2011).

         Here, Plaintiff filed an Amended Complaint on October 19, 2018. Motions to dismiss from

 the Defendants will be filed on or before November 2, 2018, attacking the legal sufficiency of the

 Amended Complaint. See Albers v. Commonwealth Capital Corp., 2016 WL 9526453 at *2 (M.D.

 Fla. 2016) (“In spite of the absence of a pending motion to dismiss, the Court finds it appropriate

 to postpone the case management conference, which, in effect, stays discovery, because

 Defendants have represented that they intend to file a motion to dismiss after the case management

 conference deadline[.]”). Defendants are in the process of preparing a Rule 12(b) motion that will

 be filed by November 2, 2018, and, if well taken, will entirely resolve or substantially narrow this

 action. However, the deadline for submitting the joint scheduling order falls before the deadline




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  Medhekar is the leading case on the PSLRA’s effect on Rule 26 “proceedings,” which the U.S.
 Court of Appeals for the Eleventh Circuit has not squarely addressed.

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 for filing the motion to dismiss based on the Court’s October 11, 2018, Second Order Requiring

 Scheduling Report and Certificates of Interested Parties (the “Order”) [DE 45].

        Defendants request—and Plaintiff does not oppose—a postponement of the deadline to file

 the Joint Scheduling Report until after resolution of the forthcoming motion to dismiss. Rule

 16(b)(2) permits the Court to delay issuing a scheduling order if “the judge finds good cause for

 delay.” Defendants respectfully submit that good cause exists for postponing the deadline to

 submit the Joint Scheduling Report, as doing so (1) would effectuate Congress’s intent under the

 PSLRA to minimize litigation costs pending a determination of the sufficiency of a complaint; (2)

 would be consistent with the Eleventh Circuit’s preference for resolving “[f]acial challenges to the

 legal sufficiency of a claim or defense . . . before discovery begins,” Chudusama v. Mazda Motor

 Corp., 123 F.3d 1353, 1367 (11th Cir. 1997); and (3) would facilitate the “just, speedy, and

 inexpensive determination” of this action. See Fed. R. Civ. P. 1.

                                                 CONCLUSION

        For the reasons discussed above, Defendants respectfully request that the Court postpone

 the deadline to submit the joint scheduling report until after resolution of the forthcoming motions

 to dismiss.

                                          RULE 7.1 CERTIFICATE

         Counsel for Defendants hereby certify that on October 24, 2018, Paul Bagley, Esq.
 conferred with counsel for Plaintiff, Jonathan Feldman, in a good faith effort to resolve the issues
 raised in this motion. Plaintiff’s counsel indicated they did not oppose the relief sought herein.
 Plaintiff in stating it did not oppose the relief sought in this motion, reserved its rights under the
 PSLRA to seek lifting the stay of discovery under the “extraordinary circumstances” exceptions
 enumerated in the statute and referenced in the Court’s August 14, 2018, Order staying this matter.




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 Dated: October 24, 2018
                                                       Respectfully Submitted,

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                                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

 Court via CM/ECF on October 24, 2018. I also certify that the foregoing was served on all counsel

 or parties of record on the attached Service List either via transmission of Notices of Electronic

 Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

 are not authorized to receive electronic Notices of Filing.

                                              By: /s/ Catherine J. MacIvor
                                                      Catherine J. MacIvor



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